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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                                     MDL No. 2873



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −116)



On December 7, 2018, the Panel transferred 75 civil action(s) to the United States District Court for the
District of South Carolina for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.
See 357 F.Supp.3d 1391 (J.P.M.L. 2018). Since that time, 283 additional action(s) have been transferred to
the District of South Carolina. With the consent of that court, all such actions have been assigned to the
Honorable Richard M. Gergel.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the District of South Carolina and assigned to Judge Gergel.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of South Carolina
for the reasons stated in the order of December 7, 2018, and, with the consent of that court, assigned to the
Honorable Richard M. Gergel.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the District of South Carolina. The transmittal of this order to said Clerk shall be stayed 7 days from
the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period,
the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:


                                 Jan 23, 2023

                                                            John W. Nichols
                                                            Clerk of the Panel
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IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                            MDL No. 2873



                  SCHEDULE CTO−116 − TAG−ALONG ACTIONS



  DIST     DIV.    C.A.NO.     CASE CAPTION


COLORADO

  CO        1      22−03256    Espinosa et al v. 3M Company, The et al

MASSACHUSETTS

  MA        1      23−10042    Town Of Salisbury v. 3M Company et al
  MA        1      23−10044    Cotuit Fire District v. 3M Company et al
                               Town of Ware v. 3M Company (f/k/a Minnesota Mining and
  MA        3      23−10043    Manufacturing, Co.) et al
  MA        4      23−10032    Town of Milford v. 3M Company et al
